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                               EXHIBIT 15
                             Case 2:20-cv-17785-EP-LDW Document 78-17 Filed 05/11/23 Page 2 of 2 PageID: 2029
                                                                                                 Exhibit 15
                                                                       Excerpt of TimeStation Records for Week Ending August 20, 2017



Employee                                     Department                                           Mon 08/14 Tue 08/15 Wed 08/16   Thu 08/17 Fri 08/18 Sat 08/19 Sun 08/20 Total Hours Hourly Rate Total Pay
Pedro Olmedo                                 Nielsen Doge Chrysler Jeep                           12:07     12:16     12:04       12:04     12:00     9:09      0:00      69:40       10.00       696.80
Pedro Santana                                Manheim (Skyline)                                    9:20      5:43      7:41        7:38      9:06      0:00      0:00      39:28       10.00       394.60
Pedro Santos Fermin                          Holman Infiniti, Ford & Lincoln                      9:40      10:01     11:08       10:44     10:38     7:25      0:00      59:36       14.00       834.40
Radhames Garcia                              Rallye Mercedes-Benz                                 10:24     10:20     10:18       10:50     9:22      0:00      0:00      51:14       10.00       512.30
Rafael Cueto                                 BRAM - Warehouse (Drivers)                           9:29      13:02     13:01       13:19     12:51     8:05      0:00      69:47       12.50       872.25
Rafael Dominguez                             Infiniti of Bayside                                  10:34     10:36     10:24       8:30      11:19     10:38     6:15      68:16       9.50        648.57
Rafael Menendez                              Auto Eastern Nissan of Para- NO LONGER AT JOBSITE    0:00      0:00      0:00        0:00      8:01      10:39     0:00      18:40       10.00       186.70
Rafael Monteroso                             Rallye BMW                                           9:50      9:55      8:49        9:56      9:56      7:37      0:00      56:03       11.00       616.55
Rafael Silverio                              Delassio Buick                                       4:18      9:14      9:01        8:37      8:16      0:00      0:00      39:26       11.00       433.84
Ramel Salik Kirkpatrick                      Galaxy Toyota - NO LONGER AT JOBSITE                 9:43      9:52      9:57        9:55      6:06      0:00      0:00      45:33       9.50        432.82
Ramon Alexis Castro                          Enterprise (Newark)                                  10:01     6:49      10:01       10:01     10:02     0:00      0:00      46:54       9.00        422.19
Ramon Antonio Cueto                          Enterprise (Newark)                                  10:03     10:03     10:01       10:02     9:58      0:00      0:00      50:07       13.00       651.56
Ramón Duran                                  Manheim (Skyline)                                    9:53      6:55      7:38        7:39      8:58      0:00      0:00      41:03       10.50       431.03
Ramon Duverge                                Rallye BMW                                           9:33      10:48     10:45       10:32     9:56      5:54      0:00      57:28
Ramon Perez Nunez                            Rallye Mercedes-Benz                                 12:01     12:02     12:09       12:01     8:51      5:13      0:00      62:17       11.00       685.19
Randy Patricio                               Mercedes-Benz of White Plains                        11:23     10:50     10:48       11:00     10:31     7:31      0:00      62:03       10.00       620.50
Raul German                                  Bay Ridge Honda                                      0:00      0:00      10:00       10:01     10:03     8:02      0:00      38:06       8.50        323.85
Raul Martinez Jimenez                        Prestige Toyota-NY/Hyundai                           10:03     9:53      9:57        10:01     10:06     9:03      0:00      59:03       12.50       738.13
Raul Soberanes                               Ramsey Nissan                                        12:11     10:02     9:56        10:03     12:50     10:02     0:00      65:04       10.00       650.50
Reginal Rabel                                Fette Prep Center                                    10:07     10:00     9:59        9:56      10:00     7:03      0:00      57:05       10.00       570.80
Reny Cueto Jimenez                           Mercedes-Benz of White Plains                        11:22     10:49     10:46       11:00     10:30     7:31      0:00      61:58       12.00       743.76
Reynaldo Sanchez - Manager Valet @ Service   Bay Ridge Audi Service                               8:52      9:07      8:56        9:02      8:57      6:42      0:00      51:36       11.50       593.40
Ricardo Martinez                             Rallye Mercedes-Benz                                 9:29      10:52     10:29       10:36     9:56      5:54      0:00      57:16       9.50        543.97
Rigoberto Macario                            Mercedes-Benz Manhattan (North Bergen)               8:21      8:29      8:26        8:23      8:23      0:00      0:00      42:02       11.00       462.33
Robert Gutierrez                             Mercedes-Benz of New Rochelle                        11:04     11:05     10:43       11:04     10:42     8:29      0:00      63:07       9.00        568.08
Roberto Felix                                Firestone Enterprise- NO LONGER AT JOBSITE           10:04     7:56      9:11        9:25      9:29      8:32      0:00      54:37       11.00       600.71
Roberto Sanchez - New Cars                   Pepe Infiniti                                        12:08     10:08     8:25        11:25     10:59     8:02      0:00      61:07       12.50       763.88
Ronald Rodriguez                             Clinton Honda- NO LONGER AT JOBSITE                  10:30     12:17     9:21        11:25     8:48      10:33     0:00      62:54       11.00       691.90
Ronaldo Quezada                              Manheim (Skyline)                                    9:19      5:43      7:39        7:38      9:03      0:00      0:00      39:22       10.00       393.70
Ronan Pacheco                                Mercedes-Benz of Brooklyn                            13:09     0:00      14:07       10:52     11:29     11:50     0:00      61:27       13.00       798.85
Rony Sadi Flores                             Rallye BMW                                           10:01     10:02     10:01       10:04     10:10     7:57      0:00      58:15       11.00       640.86
Ruben Dario Gomez                            Fette Prep Center                                    10:07     9:59      10:01       9:56      10:00     7:03      0:00      57:06       13.00       742.30
Samuel Lopez Guzman                          Land Rover / Jag Monmouth - - NO LONGER AT JOBSITE   13:30     13:04     13:04       13:21     13:01     9:49      0:00      75:49       11.00       834.13
Samuel Orellana                              Mercedes-Benz Manhattan                              7:48      10:07     5:54        10:21     8:58      6:19      0:00      49:27       12.00       593.52
Sandro Paloguachi                            Mercedes-Benz Manhattan                              9:50      7:51      9:41        9:43      8:04      7:11      0:00      52:20       16.00       837.28
Saul Armando Rivera Garcia                   Audi Monmouth - NO LONGER AT JOBSITE                 10:50     10:55     10:59       11:00     11:01     0:00      0:00      54:45       10.00       547.50
Secundino Huz                                Audi Monmouth - NO LONGER AT JOBSITE                 0:00      10:04     10:05       9:58      9:55      8:54      0:00      48:56       12.00       587.28
Segundo M. Cubas                             Auto Eastern of Hackensack -NO LONGER AT JOBSITE     8:08      8:02      8:17        8:13      8:10      10:15     0:00      51:05       10.00       510.80
Sergio Reyes Jimenez                         Mercedes-Benz Manhattan                              7:59      8:59      9:01        9:09      10:04     8:02      0:00      53:14       13.50       718.61
Sergio Vargas                                Clinton Honda- NO LONGER AT JOBSITE                  10:31     10:57     9:21        11:43     8:39      10:23     0:00      61:34       11.50       708.06
Silverio Cruz Linares                        Manhattan Jeep Chrysler and Dodge- Car Wash          10:43     10:27     10:15       10:03     10:30     9:08      0:00      61:06       9.00        549.90
Socrates Luzon - Car Washer                  Lexus of Queens                                      11:20     11:18     11:16       11:15     11:20     9:08      0:00      65:37       11.00       721.71
Stefan Ortiz                                 Rallye Mercedes-Benz                                 0:00      8:44      8:42        8:43      8:34      0:00      0:00      34:43       9.50        329.84
Steve Simancas                               Bay Ridge Audi Service                               8:59      9:06      9:03        9:01      9:00      0:00      0:00      45:09       13.00       586.95
Steven Agudelo                               Pepe Infiniti                                        12:00     12:01     12:03       12:02     10:58     7:53      0:00      66:57       9.00        602.55
T. Estanislao Pierrot Sr.                    BRAM - Warehouse                                     0:00      9:34      9:21        10:01     9:40      5:57      0:00      44:33       9.00        401.04
Teodoro Morataya                             Audi Monmouth - NO LONGER AT JOBSITE                 9:58      10:00     10:03       10:00     6:45      0:00      0:00      46:46       10.00       467.70
Tiffany Abraham                              Madison Honda                                        11:14     11:29     11:09       11:19     10:14     11:04     0:00      66:29       9.00        598.32
Tobias Guerrero                              Auto Eastern Nissan of Mead -NO LONGER AT JOBSITE    9:11      9:12      9:12        8:41      11:33     11:30     0:00      59:19       9.50        563.45
Tomas Nogueira                               Power Wash                                           9:59      10:07     10:01       0:00      9:51      0:00      0:00      39:58       9.00        359.73
Tomas Roberto Gonzalez Munoz                 Audi Monmouth - NO LONGER AT JOBSITE                 12:43     12:41     12:55       12:38     10:37     0:00      0:00      61:34       10.00       615.70
Ulises Reyes                                 Mahwah Chrysler Dodge/Jeep                           10:19     10:06     10:02       11:55     10:19     12:04     0:00      64:45       10.00       647.60
Victor Almanzar                              Ramsey Nissan                                        9:52      9:52      9:48        10:07     10:11     9:37      0:00      59:27       10.00       594.60
Victor Daniel Hernandez                      Pepe Infiniti                                        12:02     12:00     12:02       12:03     10:59     7:53      0:00      66:59       9.00        602.73
Victor DuDamel - Valet                       Manhattan Jeep Chrysler and Dodge- Car Wash          7:13      7:16      0:00        7:20      7:21      8:09      0:00      37:19       11.00       410.52




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